      Case 1:25-cv-00677-DLF          Document 30-2       Filed 04/07/25     Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CENTRO DE TRABAJADORES
 UNIDOS, et al.,

            Plaintiffs,

              v.                                 Civil Action No. 25-677 (DLF)

 SCOTT BESSENT, in his official
 capacity as Secretary of the Treasury, et
 al.,

            Defendants.



         [PROPOSED] ORDER DENYING PRELIMINARY INJUNCTION AND
                           DISMISSING CASE

       Upon consideration of Plaintiffs’ motion for a preliminary injunction (ECF No. 28),

Defendants’ opposition and motion to dismiss (ECF Nos. 30 and 31), and Plaintiffs’ brief in

reply (ECF No. __________), and the full record before the Court, it is hereby:

           1. ORDERED that Plaintiffs’ motion for a preliminary injunction (ECF No. 28) is

               DENIED.

           2. ORDERED that Defendants’ motion to dismiss the amended complaint (ECF No.

               31) is GRANTED. The amended complaint is DISMISSED WITHOUT

               PREJUDICE.

           3. ORDERED that the Clerk is directed to close this case.

SO ORDERED.

Dated: __________ ______, 2025

                                             ________________________________________
                                                 HON. DABNEY L. FRIEDRICH
                                               UNITED STATES DISTRICT JUDGE
